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RECEIVED
1 Magistrate Judge Theresa L. Fricke
>|) JUN 18 2019
f WSTRICT COURT
> WESTERN otaetoe SRSNGION AT TACOMA
5 UNITED STATES DISTRICT COURT FOR THE
6 WESTERN DISTRICT OF WASHINGTON
AT TACOMA
7
8 UNITED STATES OF AMERICA, NO. CR18-5579RBL
9 Plaintiff,
10 Vv. REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY
11|) MICHAEL JOHN SCOTT,
12 Defendant.
‘13
14 The defendant, by consent, has appeared before me pursuant to Rule 11, Fed. R. Crim.
15 || P., and has entered a plea of guilty to the Second Superseding Indictment. After examining
16 || the defendant under oath, I determined that the guilty plea was knowingly, intelligently, and
17 || voluntarily made, and that the offense charged is supported by an,independent basis in fact
18 containing each of the essential elements of such offense. I therefore ordered a presentence
19 || report. Subject to the Court's consideration of the Plea Agreement pursuant to Fed. R. Crim.
20 || P. 11(c)(1)(B), I recommend that the defendant be adjudged guilty and have sentence
21 || imposed. Uk
22 DATED this ] 3" day of June, 2019.
23
24 Swen aL Xe Oa be
5 UNITED STATES MAGISTRATE JUDGE
26
NOTICE
a7 Objections to this Report and Recommendation are waived unless filed and served within fourteen (14) days.
28 U.S.C. § 636(b)(1)(B).
28

REPORT AND RECOMMENDATION UNITED STATES ATTORNEY

CR18-5579RBL/MICHAEL SCOTT aac AE oe
, TACOMA, WASHINGTON 98402

(253) 428-3800
